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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

                                                 Criminal Action No. 21-00107 (RDM)
                 v.

  BRUNO JOSEPH CUA


   MOTION TO WITHDRAW IN PART MOTION TO FILE SEALED MATERIALS

       Bruno Joseph Cua, through undersigned counsel, hereby moves to withdraw in part his

May 5, 2023 consent motion to seal his sentencing memorandum and accompanying exhibits.

See ECF No. 329 (filed under seal). Mr. Cua is withdrawing the motion in part and to the extent

it seeks to seal his sentencing memorandum but maintains the motion with respect to the

exhibits. Mr. Cua will file an unredacted version of his May 5, 2023 sentencing memorandum on

the public docket contemporaneously with this notice.

                                                    Respectfully submitted,

DATED: May 9, 2023                                  /s/ William E. Zapf
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                                                    William E. Zapf (D.C. Bar No. 987213)
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                                                    Attorneys for Bruno Joseph Cua
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                                CERTIFICATE OF SERVICE
       I hereby certify that on this 9th day of May, 2023, I filed the foregoing with the Clerk of

the United States District Court for the District of Columbia by using the CM/ECF system,

which system I understand has provided electronic notice counsel of record.



                                             /s/ William E. Zapf
                                             William E. Zapf
